                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )         NO. 3:19-cr-00323
       v.                                      )
                                               )
                                               )
CONLEY JOHNSON                                 )


                           MOTION TO UNSEAL INDICTMENT

       The United States of America, by its attorneys Donald Q. Cochran, United States

Attorney for the Middle District of Tennessee for the administration of this case, and Amanda J.

Klopf, Assistant United States Attorney, requests that this Court unseal the indictment.



                                                            Respectfully submitted,
                                                            DONALD Q. COCHRAN
                                                            UNITED STATES ATTORNEY

                                                            By:__/s/______ _
                                                            Amanda J. Klopf
                                                            Assistant United States Attorney
                                                          t 110 9th Avenue South - Suite A-961
                                                            Nashville, Tennessee 37203
                                                            Telephone: (615) 736-5151




     Case 3:19-cr-00323 Document 6 Filed 01/27/20 Page 1 of 1 PageID #: 16
